                                                                                     ✔ Original
                                                                                     u                          u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 25-894M(NJ)
      oral swab of DNA from Jermaine T. Jones                               )
                 (DOB XX/XX/1974)                                           )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before May 26, 2025                            (not to exceed 14 days)
      xxin the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.
      u

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, thee later specific date of                                  .


Date and time issued:           5/12/2025 @ 12:55 p.m.
                                                                                                          Judge’s
                                                                                                          JJu
                                                                                                            udge’
                                                                                                               e’s ssi
                                                                                                                    signature
                                                                                                                     ign
                                                                                                                       g atturee

City and state:                  Milwaukee, WI                                        Honorable Nancy Jo
                                                                                                      JJoseph,
                                                                                                         se
                                                                                                          eph, U.S. Magistrate Judge
                                                                                                                               Judg
                                                                                                        Printed name and title
                          Case 2:25-mj-00894-NJ                    Filed 05/12/25     Page 1 of 15          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                          Case 2:25-mj-00894-NJ                     Filed 05/12/25       Page 2 of 15        Document 1
                                  ATTACHMENT A

                                 Person to be searched


The person to be searched is Jermaine T. Jones (DOB XX/XX/1974).




                                           9

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                                       ATTACHMENT B

                                       Property to be seized


The property to be seized is saliva containing epithelial cells by buccal swab.




                                                10

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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 25-894M(NJ)
   oral swab of DNA from Jermaine T. Jones                                   )
                                                                             )
              (DOB XX/XX/1974)                                               )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 Please see Attachment A.

located in the              Eastern               District of                 Wisconsin                , there is now concealed (identify the
person or describe the property to be seized):
 Please see Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. 922(g)                          Felon in Possession of Firearm



          The application is based on these facts:
        Please see Affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                      ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                                Special Agent James Buck, FBI
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements
                                                       uirements of Fed. R. Crim. P.               P. 4.1 by
                      telephone                       (specify
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                                                                                            means)


Date:     5/12/2025
                                                                                                        Judge’ss ssignature
                                                                                                                   ignature

City and state: Milwaukee, WI                                                        Honorable
                                                                                     H     bl Nancy
                                                                                               N    JJoseph,
                                                                                                          h UU.S.
                                                                                                               S MMagistrate
                                                                                                                     i       Judge
                     Case 2:25-mj-00894-NJ                      Filed 05/12/25              Page 5 ofPrinted
                                                                                                      15 name  and title
                                                                                                             Document    1
                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, James Buck, being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND:

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been since June of 2023. Since June of 2023, I have been assigned to the FBI’s Milwaukee Area

Safe Streets Task Force (MASSTF), a multi-jurisdictional law enforcement entity charged with

investigating violations of federal law, including felony possession of firearms as defined under

Title 18 of the United States Code. I have been trained in a variety of investigative and legal

matters, including the topics of Fourth Amendment searches, the drafting of search warrant

affidavits, and probable cause. I have participated in criminal investigations, surveillance, search

warrants, interviews, and debriefs of arrested subjects.

       2.      I have been involved in the enforcement and investigation of numerous violations

of federal law to include drug trafficking investigations and firearm violation related cases. I

have personally participated in numerous investigations that have given me familiarity with the

various methods that criminals use to conduct illicit firearm and narcotics transactions in

violation of federal law. I have used investigative techniques including, but not limited to

consensual monitoring, physical surveillance, witness and subject interviews, court authorized

electronic surveillance, review and analysis of telephone records, and the execution of search and

arrest warrants.

       3.      I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a search warrant to collect an oral swab of DNA from Jermaine T. Jones

(DOB XX/XX/1974). Based on the circumstances described below, there is probable cause to

believe that Jones committed firearm offenses in the Eastern District of Wisconsin, in violation of




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Title 18, United States Code, Sections 922(g)(1) (felon in possession of a firearm). Since this

affidavit is only for the limited purpose of securing a search warrant, I have not set forth each and

every fact known to me concerning this investigation. I have included what I believe are facts

sufficient to establish probable cause for the warrant sought. Because this affidavit is submitted

for the limited purpose of securing authorization for a criminal complaint, I have not included each

and every fact known to me concerning this investigation. I have set forth only the facts that I

believe are essential to establish probable cause.

                                          PROBABLE CAUSE

       4.      On or about October 12th, 2023, Federal Bureau of Investigation (FBI) Agents, Task

Force officers, and Milwaukee Police department officers, executed a search warrant at located at

8710 W. Appleton Av. #6, Milwaukee, Wisconsin. The search warrant was to be executed for

firearms retained in/upon the premises, among other items. During the search warrant, it was

revealed the residence was unoccupied.

       5.      Law enforcement started to execute the search of the 8710 W. Appleton Av. #6,

Milwaukee, WI by taking photographs before the search began.

       6.      Apartment # 6 is located on the second floor to 8710 W. Appleton Av. The

apartment is in the northwest corner within the building. The 8710 W. Appleton Av. #6 was

comprised of a living room located to the west of the apartment

       7.      During the search warrant execution, members of TEU approached the west facing

entry door to 8710 W. Appleton Av. During this time members of TEU entered into the front entry

door and made their way up to the second floor. Members of TEU then approached the entry door

to apartment number 6 and began knocking while announcing their presence. Officers continued

to knock with no response. Officers eventually made entry into the apartment and cleared the

                                                 2

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residence. During this time, officers observed that Jones was not in the residence. TFO Martez

BALL took overall photos of the exterior and interior of 8710 W. Appleton Av. #6 prior to the

search and during the recovery of evidence.

       8.       Affiant knows that the TEU did conduct a search of the residence consistent with

the search warrant, with the following results:

            x   Living Room

                     a. Black Springfield XD45, .45 caliber semi-automatic handgun (Serial #

                         GM464058) with magazine. Recovered from living room east wall

                         beneath couch by TFO GHASSOUL;

                     b. Photo depicting a person standing in the target apartment armed with two

                         firearms recovered from living room end table along east wall by TFO

                         GHASSOUL. Affiant has compared the person depicted in the framed

                         photograph to a prior booking photo of Jones, as well as a State of

                         Wisconsin Department of Transportation photograph of Jones and the

                         figure in the photograph appears to be the same person.




                                                  3

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       Figure 1: Framed photograph of Jones on table       Figure 2: Full Photograph

  x   Kitchen

           a. Sealed piece of mail that contained advertisement document from Geraci

                Law addressed to Jermaine Jones at 8710 W. Appleton Av. # 6 – located

                by P.O. STEWART on the middle shelf of the upper northeast cabinet of

                the kitchen;

  x   Southwest Bedroom

           a. Black slide over green and black frame, Tara TM-9 9mm semi-automatic

                handgun (Serial # AA8435) with magazine. Recovered from southwest

                bedroom along north wall in storage dresser beneath TV in bottom left

                drawer by TFO GAGLIONE;

           b. Black Tippman Arms M4-22, .22 caliber semi-auto rifle style pistol with

                magazine (Serial # 021525) and rear receiver pin replaced by bicycle seat

                clamp. Recovered from southwest bedroom in east wall closet on top


                                          4

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             shelf, south side by Det. MOLINA;

  x   Northwest Bedroom

          a. Residential Rental Agreement in the name of Jermaine Jones for the

             residence of 8710 W. Appleton Av. dated 05/01/2017 – located by P.O.

             DOMINE in the top left drawer of dresser along east wall of northwest

             bedroom;

          b. Gray “Rams” logo snapback style hat depicted in photograph (Figure 2

             above) of suspect recovered from northwest bedroom northeast closet on

             top shelf in northeast corner recovered by P.O. REAGAN;

          c. Black with wood foregrip, Roman/Cugir 7.62x39mm Micro Draco with

             Promag high-capacity magazine (Serial # 104236). Recovered from

             northwest bedroom in northeast closet, on floor along south wall in grey

             Raider's bag by P.O. REAGAN. This firearm is consistent with the firearm

             Jones appears to be holding in his right hand in the framed photograph

             (Figure 2, above) recovered from the living room.

          d. Black Unknown brand manufactured, un-serialized AR rifle chambered

             in 5.56mm with rear flip up sights (Serial # N/A). Recovered from

             northwest bedroom in northeast closet on floor by P.O. REAGAN;

          e. Black Taurus model G2C, 9mm semi-auto handgun with magazine (Serial

             # ABJ894148). Recovered from northwest bedroom in northeast closet

             within black Sentry safe on the floor of the closet by P.O. REAGAN;

          f. Black Glock Model 19 Gen 5, 9mm handgun equipped with full-auto

             selector switch machine gun conversion device at the rear of the slide

                                    5

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                        (Serial # BSDE863). Recovered without magazine from northwest

                        bedroom in northeast closet in clothes basket from center of closet within

                        black and grey satchel by P.O. REAGAN;

                    g. Black FN Herstal Five-Seven, 5.7x28mm semi-auto handgun with

                        magazine (Serial # 386403837). Recovered from northwest bedroom, in

                        top right drawer of computer desk along the west wall in southwest corner

                        by Det. LANZA;

                    h. Black Glock model 20 Gen 4, 10mm caliber semi-automatic handgun with

                        magazine (Serial # BURZ934). Recovered from northwest bedroom in top

                        right drawer of computer desk along west wall in southwest corner by Det.

                        LANZA;

Throughout the entire residence and more specifically in Jones’ northwest bedroom was a large

number of identifiers for Jones to include documents and clothing; and a large amount of

ammunition along with firearm accessories were recovered.

       9.      Affiant reviewed Wisconsin Circuit Court Access (CCAP) records which revealed

Jermaine T. Jones (B/M 12/11/1974) was convicted on July 11, 2005 of the felony offense of Felon

in Possession of Firearm in Milwaukee County Circuit Court Case 2004CF001757. The conviction

remains of-record and un-reversed, prohibiting Jones from Possession of any firearm.

       10.     There were multiple identifiers for Jones recovered throughout the apartment and

in close proximity to where the firearms were located. Also, should be noted that the photo located

in the living room depicted Jones in possession of two firearms. Those two firearms observed in

the photo appear to be located within the residence at the time of the search warrant being

conducted.

                                                6

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       11.        A check in CCAP revealed JONES is a convicted felon having been charged with

a felony offense of battery to law officers/fire fighters through Milwaukee County Case No.

1998CF006799, that JONES entered a guilty/No contest plea on 09/15/1999, the conviction

remains of-record and un-reversed prohibiting JONES from Possession or construction possession

of any firearm.

       12.        Affiant further bases this affidavit on a review of Bureau of Alcohol, Tobacco,

Firearms, and Explosives (ATF) reports, on which affiant has previously relied and found to be

reliable. Those reports reflect that Special Agent John Lindemann reviewed information regarding

the place of manufacture for each of the following firearms, which were recovered during the

course of the above-described search:

             x    Exhibit 1 -Tara, TM-9, 9mm pistol bearing serial number AA8435.

             x    Exhibit 2 - Tippman Arms, model M4-22, .22 caliber pistol bearing serial number

                  021535.

             x    Exhibit 3 - Springfield (HS Produkt), model XD45, .45 caliber pistol bearing serial

                  number GM464058.

             x    Exhibit 4 -ROMARM/Cugir, model Micro Draco 7.62mm pistol bearing serial

                  number PMD-19557-20.

             x    Exhibit 5 -Glock, model 20GEN4, 10mm pistol bearing serial number BURZ934.

             x    Exhibit 6 -Glock, model 19GEN5, 9mm pistol bearing serial number BSDE863.

             x    Exhibit 7 -F.N. Herstal, model Five-Seven, 5.7mm pistol bearing serial number

                  386403837.

             x    Exhibit 8-Taurus, model G2C, 9mm pistol bearing serial number ABJ894148.



                                                   7

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       13.     SA Lindemann reported that each of the firearms described above was

manufactured outside of the State of Wisconsin. Further, that the characteristics and function of

each of the firearms is such that they are defined as firearms under Title 18, United States Code

Chapter 44, Section 921(A)(3).

       14.     Affiant knows that in January 2024, MPD/FBI TFO Miguel Ortega requested and

obtained from United States Magistrate Court Judge William Duffin a search warrant (Matter

number 24-MJ-58) for the purpose of obtaining a DNA buccal sample from Jermaine Jones. TFO

Ortega attempted to serve that warrant on January 31, 2024 at the Milwaukee County Courthouse,

where Jones had a scheduled civil court matter. Jones did not appear at that hearing, and TFO

Ortega was unsuccessful in serving that warrant at that time.

                                        CONCLUSION

       15.     Based on the foregoing, I submit that by taking an oral swab of the inside of

Jermaine Jones’ inner mouth cheek, there may now be found evidence of the crime of Felon in

Possession of Firearm including: DNA matching that of the DNA sample recovered from the

firearms recovered from during the search warrant that was conducted at the address of 8710 W.

Appleton Av. #6, in Milwaukee, Wisconsin on October 12th, 2023.




                                                8

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                                  ATTACHMENT A

                                 Person to be searched


The person to be searched is Jermaine T. Jones (DOB XX/XX/1974).




                                           9

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                                       ATTACHMENT B

                                       Property to be seized


The property to be seized is saliva containing epithelial cells by buccal swab.




                                                10

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